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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                                   Electronically filed

   REGINALD GREEN                    )                         3:17-cv-00204-TBR
                                     )
                           PLAINTIFF )
                                     )
   v.                                )
                                     )
   HEALTHCARE REVENUE RECOVERY )
   GROUP, LLC d/b/a ARS ACCOUNT      )
   RESOLUTION SERVICES, ET. AL.      )
                                     )
                         DEFENDANTS )


                                 NOTICE OF SETTLEMENT

       Defendant, Health Care Recovery Group, LLC d/b/a ARS Account Resolution Services,

(“Account Resolution”), and Plaintiff, Reginald Green, hereby notify the Court they have

reached a settlement agreement in this action and are now finalizing settlement documentation.

The parties will file an agreed order of dismissal with the Court upon completion of settlement.



                                             Respectfully submitted,

                                             REMINGER CO., LPA

                                             /s/ Anthony M. Pernice
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                                             Resolution Services

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2018, I electronically filed the foregoing document with
the Clerk of the Court by using the electronic filing system and served same via U.S. First Class
Mail to the following:

James H. Lawson
Lawson at Law, PLLC
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Louisville, KY 40207
Counsel for Plaintiff

                                            /s/ Anthony M .Pernice
                                            Counsel     for   Defendant,
                                            Health     Care    Recovery
                                            Group, LLC d/b/a ARS
                                            Account Resolution Services




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